       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 1 of 36




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

LEILANI S. RICKARD,

                          Plaintiff,

        vs.                                               CIV. ACTION NO. _______________

COSTCO WHOLESALE
CORPORATION,                                              JURY TRIAL DEMANDED

                          Defendant.


                                COMPLAINT FOR DAMAGES

       COMES NOW Plaintiff Leilani S. Rickard, by and through the undersigned

Counsel of Record, and hereby files this Complaint for Damages against Defendant

Costco Wholesale Corporation, respectfully showing the Court as follows:

                                 JURISDICTION AND VENUE

                                                    1.

       Plaintiff Leilani S. Rickard commences the above-captioned case pursuant to:

(1) Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et

seq., (“Title VII”) for discrimination based on race and national origin, as well as

retaliation; (2) the Civil Rights Act of 1866, 42 U.S.C. § 1981, as amended by the

Civil Rights Act of 1991, (“Section 1981”) for discrimination based on race and

                                                 Page 1 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 2 of 36




national origin, as well as retaliation; and (3) laws of the State of Georgia for

intentional infliction of emotional distress, as well as negligent retention and

supervision.

                                                    2.

       This United States District Court for the Northern District of Georgia

(“Court”) is vested with original jurisdiction over the Title VII and Section 1981

claims pursuant to 28 U.S.C. § 1331.

                                                    3.

       This Court is vested with supplemental jurisdiction over the State law claims,

which arise from the same nucleus of operative facts as the Federal claims, pursuant

to 28 U.S.C. § 1367.

                                                    4.

       Venue is proper in the Northern District of Georgia, Atlanta Division,

pursuant to 28 U.S.C. § 1391(b), because Defendant is located, and the unlawful

conduct forming the basis of this matter occurred, in said district and division.

                                                    5.

       Plaintiff satisfied administrative prerequisites to institute this matter.

Specifically, Plaintiff filed a Charge of Discrimination with the Equal Employment

Opportunity (“EEOC”) within 180 calendar days from the day the retaliation took

                                                 Page 2 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 3 of 36




place (Charge No. 410-2020-02855). Moreover, Plaintiff timely commenced the

above-captioned case within ninety (90) days of receipt of the Notice of Right to

Sue, dated February 1, 2021.

                                                 PARTIES

                                                    6.

       Plaintiff Leilani S. Rickard (“Rickard” or “Plaintiff”) is a fifty-eight (58) year-

old Filipino-Asian American, who is a citizen of the United States and resident of

the Northern District of Georgia, subject to this Court’s jurisdiction.

                                                    7.

       At all times relevant to this action, Rickard was an employee of Costco

Wholesale Corporation within the meaning of, among other laws, Title VII and

Section 1981.

                                                    8.

       Defendant Costco Wholesale Corporation (“Costco” or “Defendant”) is a

Washington profit corporation, registered to do business in the State of Georgia and

subject to the jurisdiction of this Court, with a principle office located at P.O. Box

35005, Seattle, Washington 98124-3405.




                                                 Page 3 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 4 of 36




                                                    9.

       Costco operates several wholesale warehouses, including, but not limited to,

the warehouse located at 3980 Venture Drive, Duluth, Georgia 30096 (“Duluth

Warehouse”)

                                                    10.

       Costco is an “employer” within the meaning of Title VII, engaging in an

industry affecting commerce and employing more than fifty (50) persons for each

working day in each of twenty (20) calendar weeks in the current or preceding

calendar year.

                                                    11.

       Costco may be served with process through its Registered Agent, C T

Corporation System, 289 S. Culver Street, Lawrenceville, Georgia 30046-4805.

                                   FACTUAL ALLEGATIONS

                                                    12.

       Plaintiff re-alleges and incorporates each and every preceding Paragraph of

the above-captioned complaint as if set forth fully herein.




                                                 Page 4 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 5 of 36




                                                    13.

       Costco is a United States multinational corporation (fifth largest retailer in the

world) operating a chain of membership-only big-box retail stores, including the

Duluth Warehouse.

                                                    14.

       Rickard graduated from the University of Mindanao located in Davao City,

Philippines, with Bachelor of Science in Commerce, major in Accounting.

                                                    15.

       Prior to working for Costco, Rickard held several professional management

positions including, but not limited to, Franchise Manager with Avon Cosmetics,

Inc., Account Manager, with CAP Health Maintenance Org., Area Manager with

Time Is Gold Healthcare System, Inc., and Team Leader with E&M Concession,

USA.

                                                    16.

       In addition to financial education and professional management experience,

Rickard also has several professional accomplishments, including, but not limited

to, multiple Collection Leader Award from Avon Cosmetics, Inc., Top Sales

Producer of the Month Award from CAP Health Maintenance Org., and becoming a

Licensed Insurance Agent.

                                                 Page 5 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 6 of 36




                                                    17.

       Beginning on or about November 13, 2014, Rickard became employed by

Costco at the Duluth Warehouse as a seasonal employee. Since May 15, 2015,

Rickard has been a permanent part-time Costco employee. During the course of

employment, Rickard has filled several positions at the Duluth Warehouse,

including, but not limited to, Stocker in the Clothing department, Cashier in the Front

End Department, Vault Clerk in the Administration Department, and Marketer in the

Membership Department.

                                                    18.

       At all relevant times, Rickard diligently performed all tasks while meeting or

exceeding all performance expectations.                       For example, Rickard has received

excellent performance reviews and has exhibited stellar attendance. Moreover,

Rickard was elected as the 2019 Treasurer of the Employees Club. Due to Rickard’s

sales leadership, the Duluth Warehouse was number one in Costco credit card sales

in the District for several campaigns.

                                                    19.

       During Rickard’s course of employment, Costco has generally employed a

promote-from-within strategy—Costco rarely hires managers/supervisors from

outside the company. Rather most members of management begin in part-time,

                                                 Page 6 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 7 of 36




entry-level positions in stocking and/or customer service. After a period of diligent

performance, management identifies employees who have demonstrated the ability

to take on additional duties and responsibilities, as well as indicated a desire to

progress into management. Once an employee decides to make a career in retailing

with Costco, it is determined whether the employee would like to pursue purchasing

or operations. To that end, the employee is generally afforded an opportunity to

receive training and perform duties within the chosen path before being promoted

into management. As Costco Found Jim Sinegal stated, “We would never dream of

hiring a manager for one of our Costcos from outside the company.”

                                                    20.

       After approximately one (1) year of employment, Rickard began repeatedly

expressing a desire and interest in being promoted into management. In this regard,

Rickard applied for multiple supervisor and management positions at the Duluth

Warehouse. Whenever asked about long term Costco goals during interviews,

Rickard always expressed a desire to become a Warehouse Manager, which is why

Rickard constantly sought professional opportunities in different Departments.

Moreover, Rickard often expressed the desire to obtain a management position to

several managers and supervisors in the Duluth Warehouse.



                                                 Page 7 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 8 of 36




                                                    21.

       In 2016, Rickard applied for a vacant supervisor position in the Produce

Department.        Eric Myers (“Myers”)—Caucasian Assistant General Manager—

interviewed Rickard for the position. Despite Rickard’s education and years of

management experience, Meyers selected Robert Tacopina (“Tacopina”)—

Caucasian Stocker and Forklift Operator—for the position.                                     When Rickard

questioned the denial of her application, Myers stated that, despite Rickard’s

management experience, Tacopina was selected on the basis of seniority.

                                                    22.

       In March 2016, Rickard submitted a discrimination complaint to the Regional

Office related to the selection of Julie Scott (“Scott”) (Caucasian-American) as

Hearing Aid Attendant by Ben Millwood (“Millwood”) (Caucasian-American),

Hearing Aid Manager, and Bruce Scruggs (“Scruggs”) (Caucasian-American),

Warehouse Manager. Specifically, before the position was posted, Millwood and

Scruggs trained Scott for the position while denying Rickard similar training.

Ultimately, Rickard received a letter, stating the selection of Scott was proper.

                                                    23.

       On or about June 4, 2016, Rickard filed, with the EEOC, a Charge of

Discrimination, alleging Costco discriminated based upon race and national origin

                                                 Page 8 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
       Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 9 of 36




related to the failure to promote. While the EEOC was investigating the Charge,

Scruggs left Costco without any explanation. However, following the Charge,

Costco took no remedial action based upon the alleged discrimination.

                                                    24.

       In or about December 2016, Seth Shores—Caucasian-American Front End

Manger—promised to train Rickard as a Cashier. However, whenever Rickard

requested Cashier training, Shores would give an excuse not to train Rickard. Rather

than train Rickard, a supervisor or manager would send Rickard to clean a table or

sweep a floor while training other employees.

                                                    25.

       In or about January 2017, Rickard complained to Robinson about Jones’

promotion of Costco seasonal employees, Rachel Holden (“Holden”) (Caucasian-

American) and Stanley Moisley (“Moisley”) (African-American), in violation of

Costco’s Employee Agreement. Additionally, during a Journey Meeting, Rickard

verbally complained to Yoram Rubanenko (“Rubanenko”), Costco Vice President,

Southeast Region, about the improper promotions of Holden and Moisley. And,

June 9, 2017, Rickard sent Rubanenko a letter, complaining about the improper

promotions.



                                                 Page 9 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 10 of 36




                                                    26.

       In or about February, 2017, Rickard submitted, to Costco Human Resources,

complaints against Derrick Robinson (“Robinson”) (African-American Warehouse

Manager) and Keanna Jones (African-American Membership Manager) based upon

the promotion of Holden (Caucasian) and Moisley (African-American), in violation

of Costco’s Employee Agreement. After Human Resources failed to respond, on or

about March 20, 2017, Rickard followed-up with Human Resources concerning the

complaint. However, Human Resources again failed to respond or take any remedial

action based upon Rickard’s complaint.

                                                    27.

       In or about March 2017, Rickard was assigned to the Front End, where Seth

Shores—Caucasian-American Front End Manger—denied Rickard’s requests for

Cashier training while other employees assigned to the Front End, including, but not

limited to, Buphinder Rani (Indian), Holden (Caucasian-American), Inisa Ibricic

(Bosnian), and Rachel Tavares (Latina), received Cashier training.

                                                    28.

       In or about May 2017, Rickard applied for a full-time Front End Supervisor

position at the Duluth Warehouse. On or about May 22, 20217, Shores interviewed

Rickard for the position. During the interview, Shores asked, knowing that Rickard

                                                Page 10 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 11 of 36




had been denied training, if Rickard operates the registers at the Front End. When

Rickard stated that, despite repeated requests, no one would provide Rickard with

training, Shore simply responded, “When it is not busy.” Of course, when Rickard

followed-up with Shore about the promised training, Shores consistently responded,

“Next week.” Despite Rickard’s decades of managerial experience and multiple

roles at the Duluth Warehouse, Rickard’s application was denied. Instead, Chelsea

Zeller (“Zeller”)—Caucasian American with no cashier experience at Costco—was

selected for the Front End Supervisor position.

                                                    29.

       On or about June 9, 2017, Rickard also submitted a complaint about retaliation

suffered at the hands of Robinson to Rubanenko. On July 19, 2017, Rubanenko

called Rickard and stated that the promotions of Holden and Moisley were not

improper while promising that Robinson would train Rickard to be a Front End

Cashier. At approximately 5:30PM on July 19, 2017, Shores directed Rickard to the

Front End, where a co-worker trained Rickard for approximately thirty (30) minutes,

however, by the end of the night, Rickard was again checking customer receipts at

the Warehouse exit, where Robinson angrily confronted Rickard.                                           Despite

Rubanenko’s instructions and intervention, Costco and management at the Duluth

Warehouse continued a subtle retaliatory and intimidation campaign.

                                                Page 11 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 12 of 36




                                                    30.

       In addition to the complaint to Rubanenko, on or about June 27, 2017, Rickard

filed, with the EEOC, another Charge of Discrimination, alleging discrimination

based on race due to the failure-to-promote and lack of training, however, when

Rubanenko promised Rickard that Robinson would ensure Rickard received

additional training and professional opportunities, Rickard decided not to pursue the

Charge of Discrimination.

                                                    31.

       In July 2017, Erica Tynes (“Tynes”)—African-American employee hired in

2016 in the Clothing Department—was re-assigned to the Membership Department,

where she was trained as a Refund Cashier. Because the position was not posted or

advertised, Rickard also asked Jones and the Membership Supervisor, Shantell

Washington (“Washington”) (African-American), to also receive training as a

Refund Cashier.            In this regard, Rickard stated that, if the position were

posted/advertised, Rickard would have applied for the position, which was a higher

pay grade. In response, Jones and Washington asserted excuses for the refusal to

provide Rickard with training, including, but not limited to, “I will train you after

the Holiday Season,” “When I come back from leave,” or “It is not as easy as you

see.” After other employees complained that the position was not advertised/posted,

                                                Page 12 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 13 of 36




a sign-up sheet for cross-training appeared on a board next to the Duluth Warehouse

office. After Rickard applied for the cross-training on or about August 31, 2017,

Rickard received a letter stating that the position was cancelled. Nevertheless,

several non-Filipino-Asian employees, including, but not limited to, Hyungjun Kang

(Korean), Tiffany Wilson (Puerto Rican), Holden (Caucasian-American), Lisa

Huerta (Latina), Steve Grandison (African-American), Aolani Rivera (Latina), and

Michelle Vu (Vietnamese), received training after the position was purportedly

cancelled. During the subsequent years, Rickard repeatedly requested to received

cross-training as a Refund Cashier, however, Jones and Washington have refused to

train Rickard.

                                                    32.

       On July 21, 2017, Jones assigned, without any prior training, Rickard to

security in the Duluth Warehouse’s parking lot. At approximately 11:00PM, a

vehicle slowly passed Rickard on multiple occasions, prompting Rickard to notify

the Managers, Luis Hernandez Vega (“Vega”) and Shores, who stated that they

would contact law enforcement. After the parking at the rear of Rickard’s vehicle

in a threatening manner, the vehicle followed Rickard to the front of a nearby

establishment.         Despite promises, neither Vega nor Shores contacted law

enforcement. When discussing the incident the following day, neither Vega nor

                                                Page 13 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 14 of 36




Shores showed any concern for Rickard’s safety. And in response to Jones’s inquiry,

the Duluth Warehouse’s security officer, Leonor Cortez, stated that he was never

involved in a similar incident at the Warehouse.

                                                    33.

       Beginning in September 2017, Rickard was assigned as a Vault Clerk at the

Duluth Warehouse. Rather than being promoted to Vault Clerk, in March 2018,

Rickard was promoted to Cashier. When Rickard inquired why she was not

promoted to Vault Clerk, Luis Alvarez—Latino Assistant Store Manager—simply

responded, “That’s the position you have.”

                                                    34.

       From in or about June 2018 until in or about July 2019, Rickard was scheduled

to work approximately 38-40 hours per week as a Membership Marketer in the

Membership Department—Jones requested this reassignment based upon Rickard’s

excellent sales performance. Although Rickard requested to be re-classified full-

time employee, resulting in additional compensation and benefits, Veronica Griffiths

(Caucasian-American Payroll Clerk), Jones, and Shores each denied Rickard’s

requests. However, during this period, non-Filipino employees, including, but not

limited to, Kang and Cohren Desamour (“Desamour”) (African-American Assistant

Front End Manager who began working at Costco in 2014), were promoted to full-

                                                Page 14 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 15 of 36




time employment. After Rickard complained about Jones’ refusal to reclassify

Rickard as a full-time employee, Rickard’s hours were reduced to twenty-five (25)

hours per week.

                                                    35.

       In or about July 2018, Rickard again applied for a full-time Front End

Supervisor position at the Duluth Warehouse, where Alvarez interviewed Rickard

for the position. Despite Rickard’s years of managerial experience and multiple

roles at the Duluth Warehouse, Rickard’s application was denied. Instead, Jose

Torres (“Torres”)—Latino/Hispanic American and former Bakery Manager who

was demoted to Cashier—was selected for the position. When Rickard questioned

the denial of her application, Landria Walker (African-American Manager) stated

that Torres was a “seasoned” employee while disregarding Rickard’s management

experience because it was with “previous companies.”

                                                    36.

       In February 2019, Rickard applied for a vacant Sales Audit position at the

Duluth Warehouse.               After interviewing Rickard for the position, Beatrice

Livingston—African-American Staff Manager—and Myers advised Rickard that the

position was given to Steve Scruggs (“Scruggs”)—Caucasian-American employee

from the Southeast Regional Office with no experience in the vault or sales audit —

                                                Page 15 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 16 of 36




who purportedly had more seniority than Rickard. However, Scruggs was given the

position based upon the recommendation of Guy Belemonte—Caucasian-American

and Vice President.

                                                    37.

       Although Rickard’s repeated requests for Refund Cashier training were

denied, while Rickard was on vacation in March-April 2019 Kang (Korean) and

Wilson (African-American and Puerto Rican) were trained as Refund Cashiers.

When Shirley Brown (“Brown”) asked Jamie Wilson, Caucasian, Temporary

Membership Supervisor, why Rickard who had been working in Membership longer

than Wilson and Kang did not also receive Refund Cashier training, Jamie was silent.

Subsequently, Jamie wrote-up Brown twice within a 10-day period.

                                                    38.

       In May 2019, another Refund Cashier position became vacant at the Duluth

Warehouse. Rickard applied for the vacant Refund Cashier position. Despite

Rickard’s years of management experience and multiple roles at the Duluth

Warehouse, Wilson—African-American from Puerto Rico—was selected for the

position. When questioned about the denial of Rickard’s application, Jones stated

that Wilson had seniority and knowledge about the position—Wilson received cross-

training while Rickard was denied the opportunity to receive training.

                                                Page 16 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 17 of 36




                                                    39.

       Again, in June-July 2019, Rickard applied for a vacant Front-End Supervisor

position. Like before, Shores interviewed Rickard for the position. Although

Rickard had significant Front-End experience at the Duluth Warehouse, Kathryn

Wilcoxson (“Wilcoxson”)—Asian-American Front-End Assistant who was hired in

May 2018—was selected for the position. When Rickard inquired about the denial

of her application, Shore stated, “I know who got the position but I can’t tell you. I

have to ask Eric first.” Approximately a week later, Shore responded, “I think Cathy

got it, I will ask Eric.” When Rickard inquired about the denial of her application,

Shores and Myers, stated Wilcoxson had management experience outside of Costco.

However, when Rickard applied for the Front-End Supervisor position in May 2017,

Rickard’s management experience outside of Costco was disregarded.                                         When

Rickard reminded Shores of Rickard’s management experience on her resume and

Rickard’s seniority status, Shores and Myers responded, “Try to apply again.”

                                                    40.

       In July 2019, Rickard again requested Refund Cashier training.                                       Jones

responded, “Ask the refund clerks to train you.” When Rickard asked Jones to

instructed the Clerks to provide training, Jones replied, “They know.” However,

none of the Clerks would ever provide Rickard with the requested training.

                                                Page 17 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 18 of 36




                                                    41.

       Again, in July 2019, Rickard applied for a vacant full-time Front-End

Supervisor position. Jones (not the Hiring Manager) and Shores (leaving the Duluth

Warehouse in 2 days) interviewed Rickard for the position. When Rickard inquired

about the position on or about September 27, 2019, Myers first stated, “The position

is filled.” However, when Rickard asked about the selected candidate, Myers

replied, “No one, we are still in the selection process,” before quickly leaving the

area. Finally, on October 1, 2020, Robinson took Rickard into his office, where

Robinson stated, “You did not get the job, Leilani. And I want a supervisor that can

help me achieve my goal.” When Rickard asked about the selected candidate and

the denial of Rickard’s application, Robinson stated, “We are still choosing” and

“Separate yourself from others in a positive way—Be top here.” Rickard then

reminded Robinson that Rickard cannot achieve top ranking in any Department

because she was assigned to several different areas. On October 8, 2019, it was

announced that Jennifer Schmid—Latino Front-End Assistant hired in August 2018

and working with the Cart Crew—was selected for the position.




                                                Page 18 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 19 of 36




                                                    42.

       On November 8, 2019, Rickard sent Costco’s General Counsel a letter,

wherein Rickard complained that, following her complaints concerning unlawful

employment practices, Robinson prevented Rickard from obtaining full-time

employee status, denied promotions, transfers, and professional assignments, as well

as other discriminatory and retaliatory conduct.

                                                    43.

       Again faced with Costco’s failure to promote or re-classify Rickard while

promoting and reclassifying obviously lesser-qualified Caucasian and African-

American employees, on or about January 21, 2020, Rickard filed, with the EEOC,

a Charge of Discrimination, alleging discrimination based on race and national

origin, as well as retaliation. Costco responded, denying any unlawful employment

practices. On February 1, 2021, the EEOC issued the Dismissal and Notice of

Rights.

                                                    44.

       On February 11, 2020, Rickard applied for another Front End Supervisor

position. Natasha Mallace (“Mallace”) (Front End Manager) interviewed Rickard

for the position. Despite Rickard’s superior experience, education, and professional



                                                Page 19 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 20 of 36




performance, the position was given to Leslie Amaya (“Amaya”)—Latina Food

Court employee hired in 2016 at another Warehouse.

                                                    45.

       On April 7, 2020, Steve Powers, VP of Operations, (“Powers”) responded to

Rickard’s November 8, 2019 complaint. According to Powers, an unspecified

investigation did not substantiate Rickard’s complaints. Although stating, “You

have some real strengths and both the company and your local management team

value your contributions,” Powers advised Rickard to work hard and keep a positive

attitude. Costco failed to address Rickard’s concerns or take any remedial action.

                                                    46.

       Whenever Rickard complained, Defendant subjected Rickard to retaliation.

For example, on April 14 and 24, 2020—approximately two (2) weeks after Powers

responded to Rickard’s November 8, 2019 complaint, for the first time, Rickard was

written-up twice by unknown Front-End Supervisors—management refused to

disclose the sources—for seven (7) purported items/incidents. Similarly, although

work in the Vault requires approximately five (5) hours, whenever Rickard was

assigned to the Vault, Mallace would only afford Rickard 3.5 hours and then harass

and criticize Rickard for failing to complete the work. Although Rickard was

routinely assigned to clean freezers and the bathroom, the other non-Filipino

                                                Page 20 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 21 of 36




Cashiers were not required to complete these tasks. Similarly, although Cashiers

were routinely assigned Helpers, the Front-End Managers rarely assigned Helpers to

Rickard when she performed as a Cashier. Rickard’s 2020 performance evaluation

was negative and stated that Rickard needed to scan faster despite the fact that

Rickard was rarely assigned Helpers and was still one of the top scanners. On July

22, 2020, Robinson had Rickard written-up for a mistake Rickard corrected before

the customer left Rickard’s register—Cashiers are typically not written-up unless the

customer reaches the exit before a mistake is corrected.

                                                    47.

       On August 27, 2020 Rickard applied for the Sales Audit Cross-Training

position. Again, Myers interviewed Rickard for the position. Approximately two

(2) weeks later, Myers informed Rickard that, because no other employee applied,

Rickard was selected for the position. However, when Rickard asked about training

for the position about a week later, Myers replied, “The Sales Audit cross-training

was cancelled.”

                                                    48.

       Each time Costco rejected Rickard’s applications, Rickard was disregarded

and Costco selected non-Filipino-Asian, lesser-qualified candidates.



                                                Page 21 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 22 of 36




                                                    49.

       As a longtime Costco employee with experience in multiple departments and

a prior management experience, as well as a Bachelor of Science in Commerce,

Rickard was qualified for each position.

                                                    50.

       Including Rickard, there were only two other Filipino-Asian employees at the

Duluth Warehouse during the course of Rickard’s employment. Juanita Caday was

employed as a Stocker in the Clothing Department, Scott Gabac was hired as an

Assistant Manager following Rickard’s complaints of discrimination, and a Filipino-

Asian Tire Technician, who resigned following a demotion. None of the Filipino-

Asian employees were promoted at the Duluth Warehouse.

                                                    51.

       As a result of unfair, discriminatory, and retaliator treatment, Rickard has

suffered the indignity of race and national origin discrimination, the invasion of right

to be free from discrimination, humiliation, emotional pain, mental distress,

inconveniences, and mental anguish, for which Rickard is entitled to recover.




                                                Page 22 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 23 of 36




                            COUNTS I & II
              RACE AND NATIONAL ORIGIN DISCRIMINATION
              IN VIOLATION OF TITLE VII AND SECTION 1981

                                                    52.

       Rickard re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                    53.

       Title VII and Section 1981 prohibit employers from discriminating against an

employee based upon, inter alia, race, ethnicity, and/or national origin.

                                                    54.

       As a Filipino-Asian American female, Rickard is a member of a protected

class under Title VII and Section 1981.

                                                    55.

       At all relevant times, the relationship between Rickard and Costco was a

relationship of “employee” to “employer” under Title VII and Section 1981, such

that a cause of action exists where discrimination on the basis of race and national

origin is alleged to be the cause of an adverse actions directed to the employee by

the employer.




                                                Page 23 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 24 of 36




                                                    56.

       Rickard’s education, experience, skill, and performance exceeded that of

other non-Filipino-Asian, similarly situated Costco employees, including, but not

limited to, Tacopina, Scott, Holden, Moisley, Zeller, Torres, Scruggs, Wilson,

Wilcoxson, Amaya, and the other employees at the Duluth Warehouse afforded

professional opportunities denied to Rickard.

                                                    57.

       At all times relevant to this action, Costco acted by and through its agents and

employees, including, but no limited to, Jones, each of whom acted in the course and

scope of their employment with and for Costco.

                                                    58.

       Despite Rickard’s diligent work performance, Costco intentionally

discriminated against Rickard on the basis of race and national origin by, among

other things, subjecting Rickard to unfair treatment compared to similarly-situated

non-Filipino-Asian employees, repeatedly declining to promote Rickard, denying

Rickard the same opportunities, training, and professional assistance as similarly

situated non-Filipino-Asian employees, requiring Rickard to perform duties and

tasks not required of similarly-situated non-Filipino-Asian employees, as well as

other unlawful actions based solely upon race and/or national origin.

                                                Page 24 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 25 of 36




                                                    59.

       At all relevant times, Rickard diligently performed while employed by Costco

and was qualified for the supervisor, cashier, vault, and sales positions awarded to

lesser-qualified and less-experienced non-Filipino-Asian employees.

                                                    60.

       Consequently, Rickard was treated less-favorably than similarly-situated non-

Filipino-Asian Costco employees in violation of Title VII and Section 1981.

                                                    61.

       Defendant’s conduct adversely impacted the terms, conditions, and privileges

of Rickard’s employment.

                                                    62.

       Defendant’s actions constitute unlawful race                                 and national origin

discrimination in violation of Title VII and Section 1981.

                                                    63.

       Defendant has willfully and wantonly disregarded Plaintiff’s statutory rights

and Defendant’s discrimination was undertaken in bad faith.

                                                    64.

       As a direct and proximate result of Costco’s unlawful employment practices,

which were intended to cause Rickard harm and/or were committed with reckless

                                                Page 25 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
        Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 26 of 36




disregard of the harm caused to Rickard, in derogation of Rickard’s Federally-

protected rights, Rickard has suffered and continues to suffer the indignity of race

and national origin discrimination, the invasion of his right to be free from race and

national origin discrimination, humiliation, emotional pain, mental distress,

inconveniences and mental anguish.

                                                    65.

        Costco’s intentional and illegal conduct entitles Rickard to compensatory

damages, as well as any and all other remedies available under Title VII and Section

1981.

                                                    66.

        Costco’s actions with regard to Rickard demonstrate willful misconduct,

malice, fraud, wantonness, oppression, and a complete lack of care entitling Rickard

to an aware of punitive damages to deter, punish, and penalize Costco for and from

similar future conduct.




                                                Page 26 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 27 of 36




                           COUNTS III AND IV
                             RETALIATION
               IN VIOLATION OF TITLE VII AND SECTION 1981

                                                    67.

       Rickard re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                    68.

       Title VII and Section 1981 prohibit employers from retaliating against an

employee who opposes an employment practice prohibited by, or exercise or attempt

to exercise rights, under Title VII and Section 1981.

                                                    69.

       As a Filipino-Asian American female, Rickard is a member of a protected

class under Title VII and Section 1981.

                                                    70.

       During the relevant period, the relationship between Rickard and Costco was

an employer-employee relationship within the meaning of Title VII and Section

1981, such that a cause of action exists where retaliation on the basis of opposing

and/or reporting discrimination is alleged to be the causative agent of adverse

employment actions directed to Rickard by Defendant.



                                                Page 27 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 28 of 36




                                                    71.

       During the course of Rickard’s employment, Costco, including Defendant’s

agents and employees, unlawfully and knowingly discriminated against Rickard

based upon, among other things, race and national origin in violation of, inter alia,

Title VII and Section 1981.

                                                    72.

       Rickard complained to Costco employees and submitted complaints about

unlawful employment practices based upon race and national origin.

                                                    73.

       Rickard also submitted Charges of Discrimination, opposing unlawful

employment practices based upon, among other things, Rickard’s race and national

origin.

                                                    74.

       Following Rickard’s complaints and Charges of Discrimination concerning,

among other things, unlawful employment practices based on race and national

origin, Defendant took additional adverse employment actions against Rickard,

including, but not limited to, failing to promote Rickard, reducing Rickard’s hours,

assigning additional duties and tasks, denying professional assistance, opportunities,



                                                Page 28 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
         Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 29 of 36




and training, as well as engaging in harassment and bullying, in violation of, inter

alia, Title VII and Section 1981.

                                                    75.

         The effect of Defendant’s actions has been to suspend and deprive Rickard of

an employment position, as well as loss income in the form of wages, prospective

retirement benefits, social security, and other benefits due Rickard because of the

exercise of Rickard’s Federally-protected rights.

                                                    76.

         Defendant’s adverse employment actions against Rickard constitute unlawful

retaliation against Rickard in violation of, inter alia, Title VII and Section 1981.

                                                    77.

         Defendant’s retaliatory actions were willful, deliberate, and intended to cause

Rickard harm and/or were committed with reckless and wanton disregard of the

harm causes to Rickard in derogation of Rickard’s Federally-protected rights.

                                                    78.

         Defendant’s discriminatory and retaliatory actions were undertaken in bad-

faith.




                                                Page 29 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 30 of 36




                                                    79.

       The retaliation to which Rickard was subjected by Costco entitle Rickard to

all appropriate relief afforded under the law.

                                                    80.

       As a result of Defendant’s intentional and unlawful actions, Rickard has

suffered lost compensation and other benefits of employment, physical and

emotional distress, inconvenience, humiliation, damage to her reputation, other

indignities, as well as past and future pecuniary losses.

                                                    81.

       Defendant’s actions with respect to Rickard have demonstrated willful

misconduct, malice, fraud, wantonness, oppression, and a complete want of care,

and thus, Rickard is entitled to an award of punitive damages to deter, punish, and

penalize Defendant for and from similar future conduct.

                           COUNT V
         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                 IN VIOLATION OF GEORGIA LAW

                                                    82.

       Rickard re-alleges and incorporates each and every preceding paragraph of

the Complaint as if set forth fully herein.



                                                Page 30 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 31 of 36




                                                    83.

       Despite Rickard’s years of stellar and diligent performance at the Duluth

Warehouse, Rickard was denied employment positions, professional assistance and

training, required to perform additional tasks and duties, as well as subjected to other

harassment and bullying based upon Rickard’s complaints of discrimination and

unlawful employment practices.

                                                    84.

       Costco’s, including Defendant’s agents and employees, statements, conduct,

and behavior towards Rickard were intentional and/or reckless, as well as extreme

and outrageous, causing Rickard severe shame, humiliation, embarrassment and

emotional distress of a nature that no reasonable person can endure.

                                                    85.

       Defendant’s statements, conduct, and behavior, including those of Costco

employees and agents, towards Rickard demonstrate, among other things, a

“retaliatory animus.”

                                                    86.

       At all relevant times, Costco and Rickard had a special, employer-employee

relationship, wherein Defendant exercised control over Rickard.



                                                Page 31 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 32 of 36




                                                    87.

       Costco knew or should have known that such conduct would result in severe

emotional distress by Rickard.

                                                    88.

       As a result of Costco’s conduct, Rickard has and will continue to suffer severe

emotional and other damages for which Rickard is entitled to recover.

                                COUNT VI
                  NEGLIGENT RETENTION AND SUPERVISION
                      IN VIOLATION OF GEORGIA LAW


                                                    89.

       Rickard re-alleges and incorporates by reference each of the foregoing

paragraphs as if fully restated herein.

                                                    90.

       As a result of the actions taken by Costco’s employees, Rickard suffered,

among other things, discrimination based on race and national origin.

                                                    91.

       Costco owed Rickard a duty to hire, retain, and supervise employees who

would lawfully conduct themselves and not engage in discriminatory or tortious

conduct.


                                                Page 32 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 33 of 36




                                                    92.

       By negligently retaining and supervising its employees, including, but not

limited to, Robinson, Jones, Shores, Myers, Zeller, Washington, and Wallace,

Costco breached its duty to hire, retain, and supervise an employee who would

lawfully behave.

                                                    93.

       Costco knew or, in the exercise of ordinary diligence, should have known of

the propensity of its employees, including, but not limited to, Robinson, Jones,

Shores, Myers, Zeller, Washington, and Wallace, to engage in unlawful conduct

against Rickard.

                                                    94.

       Additionally, by failing to engage in any corrective or remedial action, Costco

ratified, condoned, and/or adopted its employees’ unlawful conduct.

                                                    95.

        As a direct and proximate result of Costco’s negligent retention and

supervision of its employees, as well as the failure to take any remedial or corrective

action with respect to the known unlawful actions taken by Costco employees,

Rickard suffered damages.



                                                Page 33 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 34 of 36




                                                    96.

       Costco’s negligent conduct entitles Rickard to compensatory damages, as well

as any and all other remedies available under the law.

                                      PRAYER FOR RELIEF

        WHEREFORE, Rickard respectfully requests that this Court:

       (1)      Direct the Clerk of the Court issue summons and original process,

                served upon Defendant and any other person/entity the Court deems

                necessary in accordance with the law;

       (2)      Grant declaratory judgment that Plaintiff’s rights under Title VII and

                Section 1981 were violated;

       (3)      Grant an injunction prohibiting Defendant from engaging in such

                unlawful conduct in the future;

       (4)      Award Plaintiff compensatory damages for all injuries suffered as a

                result of Defendant’s unlawful conduct;

       (5)      Award appropriate back pay, including, but not limited to,

                reimbursement for lost income, bonuses, pension, social security, and

                other benefits in an amount proven at trial;

       (6)      Award liquidated damages equal to back pay and lost benefits based

                upon Defendant’s willful violations of the Title VII and Section 1981;

                                                Page 34 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
   Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 35 of 36




    (7)      Award punitive damages in an amount reasonable and commensurate

             with the harm done and calculated to be sufficient to deter such conduct

             in the future;

    (8)      Award pre-judgment interest on any monetary award;

    (9)      Grant a trial by jury as to all triable issues of fact;

    (10) Award attorney’s fees, costs, and disbursements

    (11) Plaintiff’s attorneys’ fees, costs, and disbursements; and

    (12) Award such further and additional relief as may be just and appropriate.

    Respectfully submitted, this 22nd day of April, 2021.

                                                 MOLDEN & ASSOCIATES

                                                  /s/ Regina S. Molden
                                                 REGINA S. MOLDEN
                                                 Georgia Bar No. 515454
                                                 T. ORLANDO PEARSON
                                                 Georgia Bar No. 180406
                                                 YIYING ZHANG
                                                 Georgia Bar No. 798231
                                                 Peachtree Center – Harris Tower, Suite 1245
                                                 233 Peachtree Street, NE
                                                 Atlanta, Georgia 30303
                                                 (404) 324-4500
                                                 (404) 324-4501 (facsimile)
                                                 Email: rmolden@moldenlaw.com
                                                 Email: topearson@moldenlaw.com
                                                 Email: azhang@moldenlaw.com

                                                 Counsel for Plaintiff Leilani S. Rickard

                                             Page 35 of 36
Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                       Complaint for Damages
      Case 1:21-cv-01645-AT-JSA Document 1 Filed 04/22/21 Page 36 of 36




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

LEILANI S. RICKARD,

                          Plaintiff,

          vs.                                             CIV. ACTION NO. _______________

COSTCO WHOLESALE
CORPORATION,                                              JURY TRIAL DEMANDED

                          Defendant.


                  LOCAL RULE AND SERVICE CERTIFICATION

       The undersigned certifies that this document has been prepared in accordance

with the Local Rules and that the foregoing Complaint for damages has been filed

with the Clerk using the CM/ECF system which will notify to the attorney(s) of

record.

       Respectfully submitted, this 22nd day of April, 2021.

                                                    MOLDEN & ASSOCIATES

                                                     /s/ T. Orlando Pearson
                                                    T. ORLANDO PEARSON
                                                    Georgia Bar No. 180406




                                                Page 36 of 36
   Rickard v. Costco Wholesale Corporation, et al., United States District for the Northern District of Georgia
                                          Complaint for Damages
